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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Eastern District
                                                        __________        of Pennsylvania
                                                                     District of __________

                                                               Philadelphia Division
                                                               __________   Division


                                                                            )
                     LaVerne L. Poussaint                                          Case No.
                                                                            )
                                                                            )                  (to be filled in by the Clerk’s Office)

                                                                            )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.        )
If the names of all the plaintiffs cannot fit in the space above,           )
please write “see attached” in the space and attach an additional           )
page with the full list of names.)
                                                                            )
                                  -v-
                                                                            )
                                                                            )
         Eliezer R. Mendlowitz (Eli Mendlovitz)
                          and                                               )
       Evergreen Communities Senior Living, LLC                             )
                                                                            )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                            )
names of all the defendants cannot fit in the space above, please           )
write “see attached” in the space and attach an additional page
with the full list of names.)



                                    COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   LaVerne L. Poussaint
                                Street Address                         1705 Locust Street Unit 217
                                City and County                        Norristown (Montgomery)
                                State and Zip Code                     Pennsylvania 19401
                                Telephone Number                       484.756.0703
                                E-mail Address                         rittenhouseresidential@gmail.com


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
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                     Defendant No. 1
                                Name                         Eliezier Mendlovitz (Eli Mendlowitz)
                                Job or Title (if known)      Landlord
                                Street Address               35 East 8th Street
                                City and County              Lakewood (Ocean)
                                State and Zip Code           New Jersey 08701-1902
                                Telephone Number             (732) 901-4117
                                E-mail Address (if known)    office@evergreen-communities.net


                     Defendant No. 2
                                Name                         Evergreen Communities Senior Living, LLC
                                Job or Title (if known)      dba Rental Management, LLC
                                Street Address               333 Clearfield Avenue
                                City and County              Trenton (Mercer)
                                State and Zip Code           New Jersey 08618-0861
                                Telephone Number             (609) 396-0200
                                E-mail Address (if known)    office@mytrentonhome.com


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
               ✔ Federal question
               ’                                           ✔
                                                           ’ Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                      84 Stat. 922; 18 USC §§ 1961-1968; 26 USC § 679; 31 USC § 5336; 31 CFR § 1010.230;
                      31 USC 5318(h); 68 PS §250.511 and §250.512; 26 USC §42; 42 USC §1985; 28 USC §1343; 28 USC
                      §1331; 28 USC §1332; 28 USC §343; 28 USC §367; 24 CFR §245.310 - 245.315; 24 CFR §245.15; 24
                      CFR 982.308(g)(4); 24 CFR 982.309(a)(3); 24 CFR 982.507(a)(2)(i); 24 CFR 888.113; 42 USC §1437f;
                      42 USC §12101; 29 USC §701; §504 of the Rehabilitation Act
          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name) LaVerne L. Poussaint                               , is a citizen of the
                                           State of (name) Pennsylvania                                     .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                    , is incorporated
                                           under the laws of the State of (name)                                                            ,
                                           and has its principal place of business in the State of (name)
                                                                                            .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name) Eliezer R. Mendlowitz (Eli Mendlovitz)             , is a citizen of
                                           the State of (name) New Jersey                                       . Or is a citizen of
                                            (foreign nation) Israel                               .


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                                b.         If the defendant is a corporation
                                           The defendant, (name) Evergreen Communities Senior Living, LLC
                                                                                                        , is incorporated under
                                           the laws of the State of (name) New Jersey                              , and has its
                                           principal place of business in the State of (name) New Jersey                           .
                                           Or is incorporated under the laws of (foreign nation)                                   ,
                                           and has its principal place of business in (name)                                       .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy–the amount the plaintiff claims the defendant owes or the amount at
                                stake–is more than $75,000, not counting interest and costs of court, because (explain):




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s) occur?
                      1705 Locust Street Norristown, PA 19401; cybersphere (LinkedIn, Microsoft Teams, Facebook, et cet)




          B.         What date and approximate time did the events giving rise to your claim(s) occur?
                      1. For tax evasion purposes, Mendlowitz’s attorneys, accountants, and regional operations manager,
                      Dovi Goldbrenner, run his criminal enterprise along the Russian mafiya-type daisy chain business model
                      with each apartment unit operating as its own discrete money-laundering company, calculated (with the
                      help of fintech, proptech, and cryptocurrency apparati), to generate a certain % of profits to sufficiently
                      satisfy Mendlowitz’s stateside and foreign stakeholders.

                      2. In April of 2024, I received an irregular recertification communiqué from one of Mendlowitz’s New
                      Jersey operations.


                      3. During the summer of 2024, the onsite manager, Randi Ash Iacavino, her colleagues, and the dark
                      operatives deployed ever more aggressive digital scams and electronic schemes – even outright mobile
                      swipes – against vulnerable, semi-literate, innumerate Rittenhouse tenants in order to exponentially
                      accelerate Mendlowitz’s profit margin increases to offset inflation.                            Page 4 of 6
                      4. In July 2024, upon noticing the uptick in targeted hacking criminality amongst the community and
                      executed against my own devices in tandem with staff scheduling (that is, during co-ordinated,
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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                      1. Against the backdrop of a deeply-ensconced criminogenic environment that is notoriously the real
                      estate / construction / developer complex, Pennsylvania’s already incorrigibly corrupt HUD landscape
                      now hosts the RICO-level racketeer Eli Mendlowitz and his Lakewood cabal within LIHTC’s corrosive
                      fiscal ecosystem.
                      2. With malevolent avarice, Mendlovitz has expanded his transnational, 60+ LLCs empire to penetrate
                      the corridors of profiteering power within my domicile of Norristown - insidiously insinuating himself and
                      his posse within the municipal infrastructure of Montgomery and Delaware Counties, finally
                      accomplishing the total cartelization of the “affordable housing” industry.
                      3. It is this clandestine contingent with whom I do battle daily in my senior housing residence.
                 4. It is Mendlowitz’s management teams who conveyed racial steering relocation emails and transmitted
                 strobe light attacks against my laptop following a building-wide LED lights installation project (with the
                 knowledge [after my maintenance request for special adjustment] that I have suffered petit-mal epileptic
IV.       Irreparable  Injury
                 seizures  in the past).
                  5. Their
          Explain why       cyberstalking,
                        monetary  damagesoffsite    monitoring,
                                             at a later time wouldonsite
                                                                      notsurveillance,   financial phishing,
                                                                          adequately compensate      you forbank    hacks, you
                                                                                                              the injuries
                  embezzlement,
          sustained, are sustaining,tenant
                                     or    security
                                        will sustain  deposit
                                                      as  a    misappropriation,
                                                            result of the events   utilities scamming,
                                                                                 described    above,  or eldersuch
                                                                                                         why    fraud, elder abuse,
                                                                                                                    compensation
                  forced relocation, code violations, financial exploitation against our elder/disabled community have
          could notrepeatedly
                     be measured.
                               been reported by me to FBI IC3, DoJ, IRS:CI, Auditor General, District Attorney, et alii in an
          The absolute    abuse
                    arduous       of power
                              effort        and
                                      to have   savage inhumanity
                                              Rittenhouse           givingApts
                                                          School Senior    rise taken
                                                                                to forced
                                                                                       intorelocation,   displacement,
                                                                                              federal receivership     manufactured
                                                                                                                   and Mendlovitz
           disloding,prohibited
                       disequilibrium,  and dispossession
                                 from HUD                  are immeasurable
                                            voucher participation              and well
                                                                  in Pennsylvania         nigh avail.
                                                                                     – to little insurmountable at this age and
          stage of my life. Such malevolent machinations must be deep-checked within the residential tenant industry.
                    6. Long before our Recorder of Deeds officially and publicly penned the transfer of ownership (in Aug
                    2022), Mendlowitz, Goldbrenner, the Pennrose posse, and their overseas investors had already
                    conspired to carry out its massive mortgage fraud / tax credit expiry scheme to plunder the
                    Commonwealth – as well as oust from our homes., disrupt, dislocate, and cause disequilibrium amongst
                    established elder/disabled tenants. Mendlovitz has since deleted "Evergreen Senior Living Communities"
                      as an ownership entity from all Recorder of Deeds notations.

                      7. Within this shadowland of crypto mortgages and phantom philanthropic fronts, two dark operatives -
                      Randi Ash Iacovino and Dovi David Goldbrenner practice thier real estate trade as masters of economic
                      predation, transacting their business on behalf of Mendlovitz’s money-laundering machine; financial
                      crime being their commodity and elder/disabled tenants their human capital.
V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
         Complainant is seeking $10,100,000 (Ten Million USD) with which she can escape LIHTC hell in which abounds
         fraud, embezzlement, kickbacks, graft, cronyism, proptech improprieties, fintech manipulations, and samesuch.

         Later this morning - after I scribe this predawn plea - I expect another knock on my door - that of the Sheriff.
         Let it not be so: I urgently request that a halt be placed on all eviction processes for one year; and ask also that a
         Writ of Mandamus be issued to the MCHA to continue HAP contracts on my unit until such time that I can
         transition with all due deliberateness and dignity.




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VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case–related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                     Date of signing:                        10/08/2024


                     Signature of Plaintiff
                     Printed Name of Plaintiff                LaVerne Poussaint


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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